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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND


   JANE DOE,

                  Plaintiff,                            C.A. No.:1:23-cv-00376-MSM-LDA
         v.
                                                        Civil Action and
   BROWN UNIVERSITY
                                                        Jury Trial Demanded
   and

   JOHN STILES,

                  Defendants.

                       AMENDED COMPLAINT AND JURY DEMAND

         Plaintiff Jane Doe (“Jane” or “Plaintiff”) brings this action against Defendants Brown

 University (“Brown” or the “University”) and John Stiles (“Stiles” or “Assailant”), based upon her

 personal knowledge and upon the investigation of counsel regarding all other matters, for Stiles’

 violent rape of Jane and for the University’s failure to comply with the law in connection with

 Jane’s Title IX complaints and for both Defendants’ retaliation against Jane for pursuing this

 protected activity. In support of her Amended Complaint (the “Complaint”), Jane states as

 follows:

                                        INTRODUCTION

         1.     On October 30, 2021, Jane, a then eighteen-year-old freshman student at Brown,

 was brutally sexually assaulted and raped by Assailant, who at the time was also a Brown student

 and member of Brown’s men’s lacrosse team. The rape occurred at what was commonly known

 as the “senior lacrosse house,” where Assailant, as well as other members of Brown’s men’s

 lacrosse team, lived. Without Jane’s consent, Assailant penetrated Jane orally, then vaginally, with

 his penis. Jane pleaded for him to stop, but Assailant ignored her and continued to rape her,
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 causing Jane to suffer from significant physical injuries and severe emotional distress. When Jane

 started to bleed profusely from the vaginal injuries that Assailant was inflicting on her during the

 rape, Assailant stopped the assault, called Jane “disgusting,” and screamed at her for his blood-

 drenched sheets and floors. He then forced Jane to walk down his communal lacrosse house hall

 naked to the bathroom to shower while he mocked Jane’s injuries and the pain and suffering he

 inflicted on Jane to his friends, including taking pictures and video of his bloody body and genitalia

 and of his bloody floors, and disseminating those pictures and videos to a group chat with his

 friends.

        2.      As a result of Assailant’s violent rape, Jane has suffered severe physical and

 emotional harm, and brings forth causes of action against Assailant for Battery, Assault, and

 Intentional Infliction of Emotional Distress.

        3.      Jane disclosed Assailant’s rape to her Brown gymnastics coach on November 4,

 2021, and following this disclosure met with a representative from Brown’s Title IX Office on

 November 5, 2021.

        4.      On November 18, 2021, Jane filed a Formal Complaint against Assailant with

 Brown pursuant to Title IX of the Education Amendments of 1972 (“Title IX”), which states that

 no person in the United States shall, on the basis of sex, be excluded from participation in, be

 denied the benefits of, or be subjected to discrimination under any education program or activity

 receiving federal financial assistance.”

        5.      Although Brown, which receives federal financial assistance and is required by law

 to adhere to Title IX, initially suspended Assailant pending the outcome of the Title IX

 investigation on November 19, 2021, it removed said suspension on December 6, 2021, replacing

 it instead with campus removal and remote learning.




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        6.      On December 7, 2021, Brown reactivated Assailant’s student status.

        7.      On April 26, 2022, 159 days after Jane registered her formal complaint with

 Brown’s Title IX Office, Brown issued its Investigative Report, but did not release its official

 findings and disciplinary recommendation until May 12, 2022—175 days after Jane registered her

 formal complaint.     Through its official findings and disciplinary recommendation, Brown

 determined that Assailant was responsible for Sexual Assault in violation of Brown’s Sexual and

 Gender-based Misconduct Policy. Even though Brown found that Jane had not consented to

 vaginal penetration by Assailant, Brown decided that the discipline of Assailant would be limited

 to placing a notation on Assailant’s transcript indicating that he had “violated Brown’s policy,”

 without stating what specific policy he violated, require Assailant to complete training on consent,

 and banned him from Brown’s campus for two academic years, even though by the time Brown

 belatedly determined this discipline, Assailant was graduating from Brown in a month or two.

        8.      Jane appealed the unsatisfactory discipline, and Assailant appealed Brown’s

 responsibility finding. Brown extended and delayed the appeal process well into the summer of

 2022, failing to render any findings or additional discipline until August 18, 2022. On that date,

 Brown denied Assailant’s appeal and granted Jane’s, and, in addition to the aforementioned

 discipline, Brown also stated that it would place a hold on the issuance of Assailant’s academic

 transcripts until he proved that he had completed the required training on consent.

        9.      Brown’s finding and discipline, however, were entirely meaningless. By the time

 Brown’s delayed process finally resulted in findings on August 18, 2022, 273 days post-Jane’s

 Formal Complaint, Assailant had already graduated from Brown, had previously applied to and

 as of that date, had begun or was about to begin graduate school at a different university in a




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 different state. Thus, as a direct and proximate result of Brown’s failures, Assailant did not suffer

 any discipline despite the University’s findings of responsibility.

        10.     Brown’s failure to conduct an adequate and timely investigation into Jane’s rape

 allegations and Title IX complaint effectively ratified the abusive acts committed against her. As

 detailed herein, after the filing of Jane’s Title IX Complaint and continuing through the present

 day, Jane continues to suffer significant retaliation from Brown students, faculty, and employees.

 Jane has also suffered from retaliatory conduct by Assailant. These collective facts, as further

 detailed herein, created and continue to create a hostile educational environment, and constitutes

 discrimination based on sex/gender in violation of Title IX. In addition to violating Title IX,

 Brown’s investigation of and response to Jane’s Formal Complaint of sexual assault was

 insufficient and did not comply with Rhode Island state law, including the Rhode Island Civil

 Rights Act (“RICRA”), § 42-112-1 et seq., and Brown’s own internal policies and procedures

 discussed herein.

        11.     Brown’s mishandling of Jane’s Title IX Formal Complaint is rendered all the more

 atrocious given that Brown knew it had a systemic problem of improperly handling sexual

 harassment and sexual abuse allegations, contrary to its federal mandates under Title IX, and failed

 to rectify that problem prior to Jane’s assault, instead setting up a system that dissuades and

 actively thwarts reporting of sexual assault and misconduct despite its knowledge of a pervasive

 and ongoing problem.

        12.     As a result of Brown’s pattern and practice of misconduct, Jane has been excluded

 from participation in, has been denied the benefits of, and has been subjected to discrimination at

 the University. Brown’s and Assailant’s misconduct also caused Jane to suffer extreme and severe

 harm and emotional distress.




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                                   JURISDICTION AND VENUE

           13.   The action against Brown is brought pursuant to Title IX of the Educational

 Amendments of 1972, 20 U.S.C. §§ 1681, et seq (“Title IX”). This Court has subject matter

 jurisdiction over the Title IX claims based on 28 U.S.C. § 1331, which grants the district court

 jurisdiction over all civil actions arising under the Constitution, laws, and treaties of the United

 States.

           14.   This Court also has subject matter jurisdiction over the Title IX claims pursuant to

 28 U.S.C. § 1343, which gives district courts original jurisdiction over: (a) any civil action

 authorized by law to be brought by any person to redress the deprivation, under color of any state

 law, statute, ordinance, regulation, custom, or usage, of any right, privilege, or immunity secured

 by the Constitution of the United States or by any Act of Congress providing for equal rights of

 citizens or of all persons within the jurisdiction of the United States; and (b) any civil action to

 recover damages or to secure equitable relief under any Act of Congress providing for the

 protection of civil rights. Jane’s claims are cognizable under the United States Constitution, 42

 U.S.C. § 1681 et seq. and under Title IX.

           15.   This Court also has supplemental jurisdiction over the state law claims against

 Brown and Stiles pursuant to 28 U.S.C. § 1367.

           16.   The events giving rise to this lawsuit occurred in the city of Providence, Rhode

 Island, which sits in this District. Venue is proper in this District pursuant to 28 U.S.C. §

 1391(b)(2), in that this is the judicial district in which the events giving rise to the claims occurred.

           17.   Brown and Stiles are subject to the Court’s personal jurisdiction with respect to this

 action.




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                                           THE PARTIES

        18.     Jane is a person of the age of majority and a current student at Brown, and at all

 times pertinent to this suit resided either on campus at Brown, or in private housing in the city of

 Providence, Rhode Island. Jane is a citizen of the State of Rhode Island.

        19.     Defendant Brown was at all relevant times and continues to be an educational

 institution in Providence, Rhode Island, organized and existing under the laws of the State of

 Rhode Island, with an address at 1 Prospect Street, Providence, RI 02912.

        20.     Defendant Stiles is a person of the age of majority and former student at Brown,

 and at all times pertinent to this suit resided in the city of Providence, Rhode Island. Upon

 information and belief, Stiles currently resides in New Hampshire.

     BROWN’S TITLE IX PROGRAM AND ITS NOTICE OF DEFICIENCIES IN SAID
                      PROGRAM PRIOR TO JANE’S RAPE

        21.     At all times relevant to this Complaint, Brown had two policies which guided the

 University’s response to potential Title IX violations: (1) the Title IX Policy, 1 last approved March

 19, 2021; and (2) the Sexual and Gender-based Misconduct Policy. 2

        22.     The Title IX Policy includes the following statement of purpose:

        This policy prohibits Sexual Harassment, Gender-Based Harassment, Sexual
        Assault, Dating Violence, Domestic Violence, and Stalking, in addition to
        Retaliation against an individual for making a report of conduct prohibited under
        this policy or for participating in an investigation of an alleged violation of this
        policy. It also defines Prohibited Intimate Relationships between individuals where
        one individual has power or authority over another which could create a hostile
        environment.



 1
    https://www.brown.edu/about/administration/title-ix/Sexual%20and%20Gender-
 Based%20Harassment%2C%20Sexual%20Assault%2C%20Interpersonal%20Violence%2C%20
 and%20Stalking%20Policy (last visited August 15, 2023).
 2
   https://www.brown.edu/about/administration/title-ix/policies/sexual-and-gender-based-
 misconduct-policy (last visited August 15, 2023).


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        This policy is in accordance with Title IX of the Education Amendments of 1972;
        relevant provisions of the Violence Against Women Reauthorization Act of 2013;
        Title VII of the Civil Rights Act of 1964; the Jeanne Clery Disclosure of Campus
        Security Policy and Campus Crime Statistics Act; their implementing regulations;
        and other applicable federal and Rhode Island state laws and regulations.

        23.     The Title IX Policy further reads: “Taking meaningful action when conduct

 prohibited by this policy occurs is a critical component to Brown’s commitment to a campus that

 is free from discrimination and harassment. Brown asks faculty and staff in varying leadership

 roles who oversee the welfare of faculty, staff, students, and University programs to assist us in

 these efforts by reporting all disclosures or knowledge of Prohibited Conduct to the Title IX

 Program Officer. Such reports amplify the University’s ability to know what is occurring within

 its programs and activities and to respond accordingly. The Title IX Program Officer will conduct

 an initial assessment of these reports and will do so in a manner consistent with the privacy choices

 of the Complainant or reporting party.”

        24.     The Sexual and Gender-based Misconduct Policy includes the following statement

 of purpose:

        This policy prohibits Sexual Harassment, Gender-Based Harassment, Sexual
        Assault, Dating Violence, Domestic Violence, and Stalking, in addition to Sexual
        Exploitation and Provision of Alcohol and/or Other Drugs for Purposes of
        Prohibited Conduct. This policy also prohibits Retaliation against an individual for
        making a report of conduct prohibited under this policy or for participating in an
        investigation of an alleged violation of this policy.

        This policy is in accordance with relevant provisions of the Violence Against
        Women Reauthorization Act of 2013; Title VII of the Civil Rights Act of 1964; the
        Jeanne Clery Disclosure of Campus Security Policy and Campus Crime Statistics
        Act; their implementing regulations; and other applicable federal and Rhode Island
        state laws and regulations.

        25.     The Sexual and Gender-based Misconduct Policy addresses prohibited conduct,

 including sexual assault, that occurs off-campus and is a complement to the Title IX Policy.




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           26.   Pursuant to Section 3.1.4 of Brown’s Sexual and Gender-based Misconduct Policy

 regarding Mandatory Reports, “Brown asks faculty and staff in varying leadership roles who

 oversee the welfare of faculty, staff, students, and University programs to assist [] by reporting all

 disclosures or knowledge of Prohibited Conduct to the Title IX Program Officer.” 3

           27.   Pursuant to Section 3.1.5 of Brown’s Sexual and Gender-based Misconduct Policy,

 “[t]he University will accept a report of Prohibited Conduct at any time” and “[t]here is no time

 limit on submitting a Formal Complaint.” Additionally, “the University will provide reasonably

 available and appropriate support measures, assist the Complainant in identifying external

 reporting options, and may take appropriate action to address the Prohibited Conduct,” even if the

 “the Complainant and/or Respondent is no longer affiliated with Brown.” 4

           28.   Pursuant to Section 6.0 of Brown’s Sexual and Gender-based Misconduct Policy,

 the “[f]ailure to comply with this and related policies is subject to disciplinary action, up to and

 including suspension without pay, or termination of employment or association with the

 University, in accordance with applicable (e.g., staff, faculty, student) disciplinary procedures.” 5

           29.   Furthermore, Section 4.0 of Brown’s Sexual and Gender-based Misconduct Policy

 defines retaliation as “any action, statement, or behavior meant as reprisal or retribution against an

 individual in response to the individual’s good-faith report or participation in a proceeding related

 to this policy. Any retaliatory action taken directly or indirectly against a person who has made a

 report, filed a complaint, or participated in an investigation is prohibited.” 6




 3
     Id.
 4
     Id.
 5
     Id.
 6
     Id.


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           30.      Both the Title IX Policy and Sexual and Gender-based Misconduct Policy

 incorporate by reference Brown’s Title IX Grievance Procedure, effective March 19, 2021, for

 responding to Formal Complaints, which are “request[s] for an investigation and initiation of [the]

 grievance procedure.”7 “Only a Complainant or the Title IX Program Officer can submit a Formal

 Complaint.”8

           31.      Upon receipt of a Formal Complaint, the Title IX Program Officer will make the

 following determinations to decide upon the applicability of policies:

                Could the facts set forth by the Formal Complaint, if substantiated, constitute conduct
                 prohibited by the Policy?

                Was the Complainant a Covered Persons as defined in the Policy when the alleged
                 Prohibited Conduct occurred?

                Is the Respondent currently enrolled or employed?

                Did Brown University exercise substantial control over both the Complainant and
                 Respondent at the time in which the alleged Prohibited Conduct occurred?

                 If the answer to each question is “YES”, then the Policy and this procedure applies, and
                 the Title IX Office has the authority to investigate and resolve the Formal Complaint.

           32.      Alternatively, the Title IX Grievance Procedure provides for an informal resolution

 process that “involves a facilitated resolution that is acceptable to the Complainant and

 Respondent.” Under the informal resolution process, “a full investigation of the allegation is not

 conducted” and the matter is considered closed once resolved through an informal resolution

 process.” “In all cases, the Title IX Program Officer [has] the discretion to determine whether an

 informal resolution or mediation is appropriate to the circumstances.” 9


 7
   https://www.brown.edu/about/administration/title-ix/policies/sexual-and-gender-based-
 misconduct-policy/sexual-and-gender-based-misconduct-complaint-proc, (last visited August 15,
 2023).
 8
     Id.
 9
     Id.


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         33.     The Corporation for Brown University, the University’s governing body, also has

  a policy on Equal Opportunity, Nondiscrimination and Affirmative Action (“Equal Opportunity

  Policy”),10 last revised on October 15, 2022, which reads, in relevant part: “Brown University

  provides equal opportunity and prohibits discrimination, harassment and retaliation based upon a

  person’s race, color, religion, sex, age, national or ethnic origin, disability, veteran status, sexual

  orientation, gender identity, gender expression, or any other characteristic protected under

  applicable law and caste which is protected under this policy, in the administration of its policies,

  programs, and activities.”

         34.     Moreover, among other things, Title IX requires colleges and universities to: (i)

  respond promptly to every reported instance of sexual assault, harassment, or violence; (ii) offer

  supportive measures to survivors, regardless of whether the survivor chooses to file a formal

  complaint; (iii) refrain from pressuring a survivor into not filing a formal complaint or participating

  in a grievance process; (iv) protect survivors from having to come face-to-face with their accused

  in the Title IX process; and (v) not retaliate against a survivor for reporting sexual misconduct,

  choosing to file a formal complaint, or choosing to participate in a grievance process.

         35.     Brown repeatedly engaged in discriminatory, retaliatory, and other unlawful

  conduct in its interactions with Jane in response to Jane’s report of sexual assault and other sexual

  misconduct, in violation of Title IX, Brown’s own Title IX Policy, Brown’s Sexual and Gender-

  based Misconduct Policy, and the Corporation for Brown University’s Equal Opportunity Policy.

         36.     Upon information and belief, the training Brown provided for students and

  employees regarding its sexual misconduct and anti-discrimination policies, definitions, and



  10
    https://www.brown.edu/about/administration/corporation/corporation-policy-statement-equal-
  opportunity-nondiscrimination-and-affirmative-action (last visited August 15, 2023).


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  investigation and reporting procedures falls far short of the OCR’s standards in terms of educating

  community members at higher education institutions about their rights and obligations with respect

  to sexual misconduct and sex/gender discrimination on campus.

         37.      As part of its Common Data Set initiative, Brown reported 10,257 undergraduate

  and postgraduate students in Fall 2018; 10,333 undergraduate and postgraduate students in Fall

  2019; and 9,948 undergraduate and postgraduate students in Fall 2020. 11

         38.      Upon information and belief, institutions of the same size and scale as Brown

  generally provide significantly more comprehensive training to students and employees to inform

  them of their rights and obligations under the institution’s Title IX policies than Brown does.

         39.      Upon information and belief, at all times relevant to this Complaint, the Title IX

  Office at Brown did not have a dedicated Title IX investigator to ensure that an institution with

  approximately 10,000 students and numerous other employees remained free of sex/gender-based

  discrimination.

         40.      Upon information and belief, at all times relevant to this Complaint, the Title IX

  Office at Brown relied on only two investigators supplied by the Office of Institutional Equity and

  Diversity (OIED), consisting of an Institutional Equity Officer and an Institutional Equity

  Investigator, both of whom have responsibilities within OIED unrelated to Title IX.

         41.      Brown’s Title IX Office was woefully inadequate and insufficiently staffed to meet

  the needs of its campus and fell well outside the scope of standards required for an institution of

  Brown’s size.




  11
     As set forth on Brown’s website, the Common Data Set is a standardized set of questions most
  often asked by parents, students, and other members of the higher education community.
  https://oir.brown.edu/institutional-data/common-data-set (last visited August 15, 2023).


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         42.      Upon information and belief, to curb reporting of the increasing number of

  incidents at Brown, Title IX complaints are purposefully buried or diverted, which means that

  complaints are never properly investigated or addressed, and offending students are not negatively

  impacted.     The concealment of Title IX complaints benefits Brown both financially and

  reputationally, while causing further harm to Jane.

         43.      The Title IX Office publishes an Annual Outcome Report on complaints of sexual

  misconduct brought to the attention of Brown officials and the outcomes of those complaints.

  According to those Annual Outcome Reports:

              59 incidents were reported to the Title IX Office between July 2016 and June 2017, but
               only 12 formal complaints were filed and only 4 findings of responsibility at the time
               of publication;12

              92 incidents were reported to the Title IX Office between July 2017 and June 2018, but
               only 9 formal complaints were filed and only 3 findings of responsibility; 13

              99 incidents were reported to the Title IX Office between July 2018 and June 2019, but
               only 11 formal complaints were filed and only 4 findings of responsibility; 14 and

              103 incidents were reported to the Title IX Office between July 2019 and June 2020
               but only 9 formal complaints were filed and only 5 findings of responsibility. 15


  12
     https://www.brown.edu/about/administration/title-
  ix/sites/brown.edu.about.administration.title-
  ix/files/uploads/AnnualOutcomeReportsOctober2017_final%20%281%29.pdf                (last   visited
  August 15, 2023).
  13
     https://www.brown.edu/about/administration/title-
  ix/sites/brown.edu.about.administration.title-
  ix/files/uploads/106390_OIED_Title%20IX%20Annual%20Outcomes%20Report_0419%20FN
  L_0.pdf (last visited August 15, 2023).
  14
     https://www.brown.edu/about/administration/title-
  ix/sites/brown.edu.about.administration.title-
  ix/files/uploads/Title%20IX%20Annual%20Outcomes%20Report_2018-2019.pdf (last visited
  August 15, 2023).
  15
     https://www.brown.edu/about/administration/title-
  ix/sites/brown.edu.about.administration.title-
  ix/files/uploads/TIXAnnualReport20192020_FNL.pdf (last visited August 15, 2023).


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         44.     Brown’s Title IX Office also regularly fails to provide survivors of sex/gender-

  based discrimination and/or harassment who report sexual abuse or misconduct with supportive

  measures, as required by Title IX and its own policies.

         45.     Brown’s insufficient response to Jane’s reports of Title IX violations subjected Jane

  to further harassment and created a sexually hostile and toxic environment on campus.

         46.     Jane suffered harm as a direct and indirect result of Brown’s common pattern of

  actions and inactions, as detailed herein.

       BROWN’S PREFERENTIAL TREATMENT OF ITS MEN’S LACROSSE TEAM

         47.     Brown prioritized its decision making around its highly-profitable and successful

  men’s lacrosse program.

         48.     In April, 2019, Brown announced plans to build a new $25 million soccer and

  lacrosse facility.16 The three-story, 22,500-square-foot state-of-the-art facility was completed in

  February 2020.17

         49.     The excessive expenses and resources allocated to the lacrosse program were at the

  expense of and detriment to Jane and other similarly situated students. Instead of appropriately

  and lawfully responding to female students sexual assault complaints, like Jane’s, Brown had a

  history and culture of failing to hold male students, and especially male student athletes,

  accountable for their acts of sexual misconduct against female students. Brown’s favoritism

  towards the male lacrosse players is evidenced by its response to Jane’s rape, as detailed below.




  16
     https://www.golocalprov.com/sports/video-brown-announces-plans-for-new-soccer-lacrosse-
  facility (last visited August 15, 2023)
  17
     https://www.brown.edu/news/2019-04-03/center (las visited August 15, 2023).


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                                             JANE’S RAPE

         50.     Assailant raped Jane when she was a first-year, freshman student at Brown. At the

  time of her rape, Jane lived on Brown’s campus at Champlin Hall and was a member of Brown’s

  women’s gymnastics team and Brown’s Air Force ROTC program.

         51.     At the time of his rape, Assailant was a member of Brown’s highly-successful

  men’s lacrosse team. He lived at 161 Waterman Street, which is directly adjacent to Brown’s

  campus, with multiple other senior-year members of the men’s lacrosse team. 161 Waterman

  Street was commonly known as the “senior lacrosse house.”

         52.     Assailant raped Jane in the early morning hours of October 30, 2021 after the two

  saw each other at a party on the night of October 29, 2021. The party took place at 247 Hope

  Street, where several “junior” members of the Brown men’s lacrosse team resided. This residence

  was commonly known as the “junior lacrosse house” and also known as “the shack.”

  Approximately 40 male Brown students “pre-gamed” in the basement of the junior lacrosse house

  that evening—38 of whom were members of Brown’s men’s lacrosse team. The residents of the

  junior lacrosse house hired a “doorman” for their party and provided the doorman with a list of

  200 people permitted to attend.

         53.     Jane and Assailant left the party and together walked back to the senior lacrosse

  house, where Assailant resided. Jane was not intoxicated at the junior lacrosse house or at any time

  thereafter, including at the time that she left the party with Assailant. Several hours earlier, before

  attending the party at the junior lacrosse house, Jane had consumed somewhere between 2 or 3

  hard seltzers, but did not drink the entirety of those beverages. Upon arriving at the junior lacrosse

  house and for the remainder of the evening, Jane consumed only water. By the time Jane had left

  the junior lacrosse house with Assailant, she was not intoxicated and had not consumed any

  alcoholic beverage for several hours.


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          54.     The senior lacrosse house is approximately one to two blocks away from Brown’s

  athletic facilities. At that time, fourteen senior lacrosse players lived in that house. Assailant lived

  on the third floor. He did not share a bedroom, but he shared bathroom facilities with several other

  individuals residing there.

          55.     Inside Assailant’s room, he and Jane began kissing and taking their clothes off,

  which Jane consented to.

          56.     Assailant then asked Jane to perform oral sex, which she had previously told him

  that she was not comfortable engaging in and had a severe aversion to doing. On the early morning

  of October 30th, Jane again told Assailant that she was uncomfortable and did not want to engage

  in oral sex, and refused to do so.

          57.     Assailant ignored her refusal and repeatedly and aggressively demanded that Jane

  perform oral sex on him. His demeanor frightened Jane. Assailant then took Jane’s head

  physically in his hands, forcibly moved her head down to his penis, and forced her to perform oral

  sex on him. His hands remained on the back of Jane’s head, forcing her to continue. Assailant

  admitted that he had his hands on Jane’s head and applied some level of pressure. Jane gagged

  the entire time. Brown’s final investigative report from Jane’s initial Title IX Complaint also notes

  that Assailant acknowledged that Jane was gagging from time to time while she was performing

  oral sex. Jane did not consent to performing fellatio.

          58.     Assailant then stood up and took a pill from the table. When Jane asked Assailant

  what the pill was for, he replied, “It makes you hard.”

          59.     Assailant then put on a condom and got on top of Jane. Jane was frightened by his

  conduct. Assailant then penetrated Jane vaginally with his penis. Assailant’s penetration hurt Jane

  instantly and she cried out for Assailant to “please stop.” Assailant ignored her plea and continued




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  to penetrate Jane vaginally without her consent and with aggression and force even though it

  caused Jane a great amount of pain. Jane mentally disassociated. Her body stiffened and she did

  not actively participate in the sexual intercourse. Assailant penetrated Jane vaginally in various

  positions for over 40 minutes without her consent.

         60.     After approximately 40 minutes, Assailant screamed out “what the fuck” and turned

  on the lights. Jane looked down and saw that she was bleeding profusely from her vagina and that

  her blood was all over the side of the bed and floor. Despite causing her severe injuries, Assailant

  never asked Jane if she needed help or medical attention. Instead, he berated her for the blood,

  screaming “What the fuck is wrong with you?! What the fuck is wrong with you?!” While Jane

  stood naked and trembling in fear from Assailant’s aggression, Assailant continued to scream at

  Jane so close to her face that he pushed her back against the wall.

         61.     Assailant became locked on the idea that Jane had her period even though she

  repeatedly told him that she did not. He repeatedly screamed at her for not telling him that she

  was on her period while physically leaning into her face.

         62.     Assailant then wrapped a towel around himself and went to the bathroom. When

  he came back, he ordered Jane to go clean herself in the bathroom. She requested a towel to cover

  herself, but he refused to give her one, forcing Jane to walk naked down the communal hallway in

  the senior lacrosse house to the communal bathroom. While walking towards the bathroom, Jane

  saw Assailant showing pictures of his penis covered in Jane’s blood from her injuries to a fellow

  lacrosse player in the hallway.

         63.     While Jane was in the bathroom, Assailant took pictures and videos of the blood in

  his room and of his naked body and genitals covered in blood and sent those pictures and videos

  to a group chat and over SnapChat to other members of Brown men’s lacrosse team who also lived




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  at the senior lacrosse house. In those messages, Assailant and other members of the team joked

  about Assailant’s rape of Jane and the injuries he caused her. One of Assailant’s friends responded

  “is that poor little girl okay” and “did you rape her or was it actually consensual.” Assailant also

  asked his friends, “Am I a criminal?” to which one of his friends responded “Triple homicide.”

         64.     In response to Assailant’s snapchat videos, other members of the senior lacrosse

  house seemed to acknowledge the horror of Jane’s injuries while simultaneously joking about what

  Assailant had done. Other members of Brown’s lacrosse team responded in the chat group by

  referring to the incident as a “war crime,” joking that Assailant’s “penis looks like a weapon,” and

  another stating that he would “snort” the blood. Only one member of the lacrosse group chat asked

  if Jane was okay and safe. Instead of responding that she was okay, Assailant merely stated: “I

  was very sternly scolding her and then walked her home.”

         65.     Meanwhile, Jane attempted to take a shower, but the water was painful on her

  injuries. Assailant came into the bathroom and into the shower. When Jane tried to leave, he held

  onto Jane’s arms, forcing her to stay naked in the shower with him while he showered. In the

  shower, Assailant told Jane that the blood “didn’t look like period blood” and she “should get that

  checked out.” Jane was not on her period at the time of the intercourse; her injuries stemmed from

  Assailant’s forcible sexual compulsion.

         66.     Assailant then pulled Jane back into his room where he again screamed at her for

  the blood covering his bed and floor. Fearful of Assailant, Jane crouched down naked and bleeding

  and attempted to clean her blood from Assailant’s room. Assailant ripped his sheets from his bed

  and tossed them out of the window to a dumpster below. He then turned to Jane, who was still

  naked, and said “you need to go home.”




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           67.    Jane attempted to put back on her shorts, but they were too tight due to the vaginal

  tearing and swelling caused by Assailant’s rape and felt very painful. Jane asked Assailant for

  clothes, but Assailant denied her request telling her that she was “disgusting.” Jane then put back

  on her own clothes despite the severe pain. Assailant then told Jane to come with him to the living

  room of the senior lacrosse house and held her there, where other members of Brown’s lacrosse

  team had congregated. He then insisted on walking her back to her residence hall. Jane complied

  with all of Assailant’s commands as she feared if she did not comply, Assailant would cause her

  further harm.

           68.    As a result of Assailant’s rape, Jane suffered severe physical injuries, including

  injuries to her vagina which may require surgery, and severe emotional injuries, including post-

  traumatic stress disorder, anxiety disorder, and depression.

           69.    Specifically, Jane suffered from several days of bleeding in the days immediately

  following her rape and severe vaginal tearing, swelling, and pain to the point where she could not

  wear underwear or pants. As a result of her injuries, she was unable to fully compete in gymnastics

  for the following school year and unable to wear her uniform for ROTC.

           70.    Even after the bleeding stopped, Jane continued to be in daily pain for nearly a year

  and still suffers from regular vaginal pain.

           71.    Upon information and belief, a second female Brown student was also physically

  and sexually assaulted by another member of Brown’s lacrosse team after the same October 29,

  2022 junior lacrosse party. Like Assailant, this offender was subsequently found responsible by

  Brown.




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                                 JANE’S TITLE IX COMPLAINT

         72.     On November 4, 2021, Jane disclosed Assailant’s rape to her Brown gymnastics

  coach, who, upon information and belief, disclosed the same to Brown’s Title IX office that same

  day.

         73.     On November 5, 2023, Jane met with a representative from the Title IX office.

         74.     On November 18, 2021, Jane filed her formal Title IX Complaint. This complaint

  will be referred to herein as Jane’s First Formal Complaint.

         75.     That day, Brown’s Threat Assessment Team met regarding Jane’s First Formal

  Complaint and recommended that Assailant be suspended pending determination of the Title IX

  Complaint.

         76.     On November 19, 2021, Brown suspended Assailant for the pendency of the Title

  IX investigation.

         77.     On November 30, 3021, Assailant appealed the suspension.

         78.     On December 3, 2021, after conducting a hearing, the State of Rhode Island District

  Court granted Jane’s Complaint for Protection from Domestic Abuse against Assailant and ordered

  that its Final Judgment – Protection from Domestic Abuse remain in full force and effect for the

  following three years. Jane had originally received a temporary restraining order on November

  18, 2021.

         79.     On December 6, 2021, Brown partially granted Assailant’s appeal, rescinding his

  suspension and allowing him to continue his Brown classes remotely.

         80.     On December 10, 2021, Brown’s Threat Assessment Team met a second time and

  again concluded that Assailant’s “prohibited conduct was likely to continue” and affirmed

  Assailant’s suspension, which was to take place starting on January 7, 2022 (the start of the Spring

  semester), pending an investigation and resolution of Jane’s First Formal Complaint.


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            81.   On December 13, 2021, several members of Brown’s men’s varsity lacrosse team

  approached Jane in Brown’s Science Library and intimidated her in retaliation for filing her First

  Formal Complaint. Specifically, while Jane was studying for finals on the fourth floor, four men

  in Brown lacrosse sweatshirts sat down at the table next to her and started clearing their throats

  very loudly every 30 seconds. Jane became very frightened, believing that she may have a panic

  attack. After ten minutes, Jane decided to walk to another floor in the library. A member from

  the lacrosse team followed her to the elevator bank. She was then able to leave the library without

  incident.

            82.   Shortly thereafter, Assailant filed a Verified Complaint in federal court against

  Brown claiming injunctive relief (the “Federal Court Action”).

            83.   Despite filing the Complaint under a pseudonym so that his own identity would be

  protected, Assailant pled his publicly-filed Complaint in such a way that Jane was readily

  identifiable from the information provided therein, including details about Jane’s specific year at

  Brown and the extracurricular activities she was involved with, including as a member of Brown’s

  gymnastic team and ROTC. The identifying details included were gratuitous and had the effect of

  outing Jane’s true identity. Assailant included this information in his publicly-filed Complaint to

  retaliate against Jane for her First Formal Complaint. Jane was not a party to the Federal Court

  Action.

            84.   Because Assailant’s motivations in the Federal Court Action were clearly

  retaliatory and because members of Brown’s lacrosse team and other Brown students were actively

  intimidating Jane for filing the First Formal Complaint, Jane initiated a Second Formal Complaint

  against Assailant for Title IX retaliation on January 14, 2022.




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         85.     Even though Jane alleged active objective retaliation in the Second Formal

  Complaint, Brown took no action whatsoever on Jane’s Second Formal Complaint for several

  weeks, failing to even assign a Title IX investigator until February 11, 2022. During those weeks,

  Brown likewise took no action whatsoever with respect to the investigation into her First Formal

  Complaint.

         86.     In early 2022, the Federal Court granted Assailant’s request for a preliminary

  injunction, finding that Brown was enjoined from suspending Assailant and denying him class

  attendance and participation and the ability to continue practicing and playing on the varsity

  lacrosse team until Brown either (1) found him responsible for the alleged Title IX violations or

  (2) conducted a renewed threat assessment.

         87.     On April 26, 2022, 159 days after Jane registered her First Formal Complaint and

  over 90 days after the federal court ruled that Assailant could not be suspended unless and until

  he was found responsible pursuant to the First Formal Complaint, Brown issued its Investigative

  Report related to the First Formal Complaint.

         88.     Brown’s investigation into Jane’s First Formal Complaint was woefully inadequate

  and it exhibited significant favoritism to Assailant throughout the process.

         89.     For example, although Jane repeatedly informed Brown’s Title IX Office of

  objective factual errors in Brown’s reporting of witness accounts, Brown’s Title IX Office failed

  to take any steps whatsoever to verify the accuracy of statements made in its own investigative

  documents and draft reports. When Jane raised these concerns with Brown’s Title IX Office

  Coordinator, Ebony Williams, Ms. Williams ignored Jane’s concerns and disregarded them

  completely.




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         90.    When Jane approached witnesses to ensure that the statements contained in the

  report were accurate and truthful—after Brown ignored Jane’s requests for Brown to confirm their

  accuracy—Brown reprimanded Jane.

         91.    In stark contrast to its treatment of Jane, Brown allowed Assailant’s legal team to

  continually interrogate investigation witnesses involved in Jane’s Title IX proceedings, which

  witnesses were current Brown students that were actively on Brown’s campus with Jane. Upon

  information and belief, Brown knew that Assailant’s attorneys were continually interrogating

  certain witnesses, but allowed the attorneys unfettered access to the witnesses all the same. To

  Jane’s knowledge, Assailant was not disciplined for his agent’s misconduct.

         92.    On May 4, 2022, Brown issued its Investigative Report pertaining to Jane’s Second

  Formal Complaint.

         93.    On May 12, 2022, 175 days after Jane registered her First Formal Complaint and

  over 100 days after the federal court’s ruling, Brown finally issued its official findings and

  disciplinary recommendation on the First Formal Complaint, finding that Assailant was

  responsible for Sexual Assault in violation of Brown’s Sexual and Gender-based Misconduct

  Policy. Sexual Assault, as defined by Brown’s policy, includes “rape” which is defined as

  “[a]ttempted or completed anal or vaginal penetration of another person, no matter how slight, by

  a body part or object without consent and/or completed or attempted oral penetration by a sex

  organ of another person.”

         94.    As discipline for his rape, Brown stated only that it would place a notation on

  Assailant’s transcript indicating that he had “violated Brown’s policy,” without stating what

  specific policy he violated, and that he would be banned from Brown’s campus for two academic




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  years, despite the fact that Assailant was graduating from Brown that same month or shortly

  thereafter (i.e., May or June 2022).

         95.        Jane appealed the unsatisfactory discipline, and Assailant appealed Brown’s

  responsibility finding. Brown did not impose any discipline whatsoever during the appeal process

  and continued to permit Assailant to access campus even though it had found him responsible for

  sexual assault.

         96.        Brown then extended and delayed the appeal process on the First Formal Complaint

  well into the Summer of 2022 citing “scheduling conflicts.”

         97.        Meanwhile, it found the time to render its finding of “no responsibility” with

  respect to Jane’s Second Formal Complaint, issuing its findings on July 18, 2022.

         98.        Brown failed to render any findings or additional discipline with respect to the First

  Formal Complaint, which charged Assailant with rape, until August 18, 2022.

         99.        On August 18, 2022, Brown issued an Appeal Statement of Finding, Final

  Determination, and Rationale (the “Appeal Finding”). The Appeal Finding denied Respondent’s

  appeal, upholding the finding of “responsible.” The Appeal Finding also granted Jane’s appeal of

  the discipline determination by adding the additional discipline of withholding Assailant’s

  transcripts until completion of his required consent training and clarified that Assailant’s campus

  ban would end two calendar years after the date upon which Assailant completed consent training

  approved in advance by the Title IX and Gender Equity Office.

         100.       The Appeal Panel’s discipline finding was entirely meaningless, however. As of

  the date of that finding, which was 273 days post the initiation of Jane’s Formal Complaint, the

  Assailant had already graduated from Brown and had already applied and was accepted to a

  graduate school program at another institution of higher education.




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         101.    Assailant therefore faced absolutely no consequences for his violent rape while Jane

  endured the physical pain and trauma from his assault and continued to suffer extreme retaliation

  by Brown students and faculty as a result of her decision to file a Title IX complaint.

         102.    Even after Assailant graduated, facing essentially no meaningful discipline by

  Brown, Jane continued to endure severe retaliation due to the filing of her Title IX Complaints,

  including continued harassment and other retaliatory actions by members of Brown’s lacrosse

  team and coaching staff, and from other Brown students.

         103.    Following the initiation of Jane’s Title IX Complaints, and continuing through the

  duration of Jane’s freshman year (academic year Fall 2021 through Spring of 2022), Jane was

  repeatedly bullied and harassed by Brown students, including in particular two students who will

  be referenced as Student 1 and Student 2.

         104.    During the Summer of 2022, given Student 1’s and Student 2’s prior extensive

  harassing, bullying, and retaliatory conduct, Jane called Brown’s Office of Residential Life to

  inform Brown of same and to seek assistance from Brown to ensure that neither Student 1 nor

  Student 2 would be housed in the same dormitory as Jane for upcoming academic year (Jane’s

  Sophomore year, Fall 2022 through Spring 2023 academic year). During that phone call, Brown

  informed Jane that she was in fact housed next to Student 2, who was placed on the same floor as

  Jane. Jane requested a dormitory change so that she would not be housed in the same building as

  Student 2. Brown complied and switched Jane’s dormitory assignment.

         105.    Student 1 and Student 2’s bullying and harassment of Jane continued through her

  Sophomore year at Brown. Thus, in October 2022, Jane again reached out to Brown about the

  ongoing retaliatory conduct.    Jane e-mailed Mary Greineder, Brown’s Associate Dean and

  Assistant Director of Student Support Services, and Kirsten Wolfe, Brown’s Associate Dean and




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  Associate Director for Student Conduct & Community Standards, to notify them that she continued

  to be harassed and bullied by Student 1 and Student 2 in retaliation for Jane’s filing of her Title

  IX Complaints. Jane disclosed that she had been cornered and verbally accosted by Student 1 at a

  party and that the boyfriend of Student 2 spat at Jane outside of Brown’s dining hall, which Student

  2 then bragged about on social media.

         106.    Jane requested that Brown mediate the matter. On October 28, 2022, Dean Wolfe

  stated that she was not permitted to engage in any discussion collectively with Jane and the

  perpetrators of her harassment. Instead, Dean Wolfe told Jane that she would speak with Jane’s

  bullies without Jane present. Dean Wolfe stated that she had spoken with both Student 1 and

  Student 2 as of November 2. Neither Student 1 nor Student 2 were disciplined. On November 9

  and November 16, 2022, Jane informed Brown that Student 2 was continuing to bully her regarding

  her Title IX Complaints. Student 2’s harassing and bullying conduct continued throughout the

  remainder of Jane’s Sophomore year at Brown. Brown took no action to address Jane’s concerns.

         107.    In addition to Student 1’s and Student 2’s Title IX retaliatory harassment, Jane was

  also harassed by coaching staff of the Brown lacrosse team in retaliation for the filing of her Title

  IX Complaints. On at least ten occasions between December 2022 and March 2023, one of

  Brown’s assistant men’s lacrosse team coaches approached Jane in Brown’s weightlifting room

  and stared at her menacingly for several minutes each time in an effort to intimidate Jane for her

  previous Title IX Complaints against Assailant, a Brown lacrosse team member. Although Jane

  reported the Brown lacrosse coach’s conduct to her Brown gymnastic coaches on several different

  occasions, Brown did not take any action against the assistant lacrosse coach to Jane’s knowledge.

         108.    At the end of August 2023, Jane was planning her return to Brown’s campus to

  commence her Junior year (Fall 2023 through Spring 2024 academic year). On September 1, 2023,




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  Jane learned from one of her friends who had already moved back to Brown’s campus that Student

  2 had moved into the same dormitory that Jane had been assigned to, and was located only several

  doors down from Jane’s assigned room on the same hall and floor. Jane was scheduled to move

  into her new dormitory room that same day, and had previously coordinated her move back to

  Brown’s campus with her mother, who had scheduled time off from work to assist Jane with her

  move in process. Thus, Jane was not able to delay her move back to Brown as she needed her

  mother’s assistance with that move.

         109.    Jane was extremely surprised and concerned to learn that Student 2 had again been

  placed by Brown in a dormitory unit not only in the same building as Jane but also on the same

  floor and a few doors down from Jane’s assigned room. During the prior academic year, as detailed

  above, Jane had made Brown aware of Student 2’s extensive harassment and bullying of Jane and

  Brown staff had previously switched Jane’s housing assignment so that she would not be housed

  in the same building as Student 2. Also due to Jane’s change of housing during the prior academic

  year to relocate Jane away from Student 2, Jane was informed by Brown or led to believe by Brown

  that her student file contained a notation of the prior change of housing and that Student 2 would

  not be housed in the same dormitory as Jane moving forward.

         110.    On September 1, 2023, Jane immediately contacted Brown’s Office of Residential

  Life to inform them that Student 2 had yet again been placed in Brown dormitory housing not only

  in the same building as Jane but on the same floor as Jane, and to request an immediate room

  change. Jane spoke with David Cavallaro, Assistant Director, Administration Operations at

  Brown, about the situation. Mr. Cavallaro expressed to Jane that he was similarly shocked to learn

  that Jane had been housed in the same building and on the same hall as Student 2 as Mr. Cavallaro

  stated that he recalled relocating Jane the prior academic year to remove Jane from the same




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  building as Student 2 and explained that there should have been a notation made in Jane’s file

  about this housing accommodation. After several hours of telephonic conversations with that

  Office, Brown informed Jane that day that they could move her 6 floors down, but in the same

  building as Student 2.

         111.    Jane moved into her dormitory on September 1, 2023. After about one hour in the

  dormitory, Jane was walking to the communal dormitory kitchen in the building just as Student 2

  was exiting the elevator on the same floor. Jane and Student 2 saw each other, but did not speak,

  and continued on their separate ways.

         112.    The next morning, on September 2, 2023, Jane received an aggressive, hostile, and

  threatening email from Student 2, which e-mail made implicit references to Jane’s Title IX

  Complaints, and was sent in further retaliation for Jane’s filing of same. The e-mail caused Jane

  to further fear for her safety on Brown’s campus.

         113.     On September 4, 2023, Jane e-mailed Dean Greineder and Dean Wolfe about the

  e-mail she received from Student 2 and her significant concerns about her safety on Brown’s

  campus. In that email, Jane forwarded Student 2’s e-mail and expressed that she was significantly

  concerned about her safety and well-being at Brown due to Student 2’s threatening remarks and

  especially because she remained in the same dormitory building as Student 2. Jane also reiterated

  her request for Brown to change her housing assignment to a different dormitory building, and

  requested a no-contact order against Student 2.

         114.    Dean Wolfe subsequently emailed David Cavallaro, explaining that the Office of

  Student Conduct “had vetted” Jane’s concerns regarding Student 2 and “support[ed]” her

  relocation. Dean Wolfe also separately responded to Jane to inform her that she could assist Jane

  in instituting a no contact order with Student 2.




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          115.    On September 7, 2023, Mr. Cavallaro e-mailed Jane that he was able to provide her

  with an “emergency room change” to a new dormitory building.

          116.    On the evening of September 7, 2023, Jane moved into a new dormitory building.

          117.    On September 18, 2023, Jane was granted a no contact order with Student 2. Due

  to Brown’s policy, the no contact order is mutual between Jane and Student 2.

          118.    To Jane’s knowledge, Student 2 has never been disciplined by Brown for any of

  Student 2’s conduct as detailed herein.

          119.    To this day, Jane continues to fear for her safety and well-being on Brown’s

  campus, continues to suffer from retaliation by Brown students, and has suffered extreme

  emotional harm and distress from both Brown and Assailant’s conduct, as detailed herein.

          120.    Also as a result of all of the foregoing conduct, Jane missed several weeks of class

  and received an incomplete in one course. Additionally, Jane was forced to reduce her class

  capacity and was unable to join extra-curricular activities including, but not limited to, joining a

  research lab and the Brown Daily Herald.

          121.    Also as a result of all of the foregoing conduct, Jane has suffered and continues to

  suffer severe emotional harm, including post-traumatic stress disorder, anxiety disorder, and

  depression, all of which have manifested through physical and behavioral symptomology,

  including panic attacks and significant weight gain. Jane also incurred extensive physical injuries

  from her underlying assault that continue to cause her pain to this day.

                             COUNT I – VIOLATION OF TITLE IX
                       Deliberate Indifference to Sex/Gender Discrimination
                                     20 U.S.C. §§ 1681, et seq.
                               Against Defendant Brown University

          122.    Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.



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         123.    Plaintiff alleges violations of Title IX against Brown due to its deliberate

  indifference to sex/gender-based discrimination.

         124.    Brown receives federal funds and is thus covered by Title IX’s prohibition on

  sex/gender-based discrimination.

         125.    Brown created and/or subjected Plaintiff to a hostile educational environment in

  violation of Title IX because:

         (a)     As a female student seeking equal access to educational programs and activities at
                 Brown, Plaintiff was a member of a protected class covered by Title IX;

         (b)     Plaintiff was subjected to sex/gender-based discrimination in the form of sexual
                 assaults, sexual harassment, relationship violence, and/or stalking;

         (c)     Plaintiff was subjected to harassment based on her sex; and

         (d)     Plaintiff was subjected to a hostile educational environment created by Brown’s
                 lack of policies and procedures and failure to properly investigate and/or address
                 the sexual assault and harassment perpetrated on Plaintiff.

         126.    At all relevant times, Brown exercised substantial control over Assailant who, at all

  relevant times, was enrolled at Brown.

         127.    Brown had actual knowledge of the sex/gender-based discrimination, which was

  created and furthered by its repeated failure to adequately respond to Plaintiff’s allegations of

  sex/gender-based discrimination in the First and Second Formal Complaints consistent with

  Brown’s own policies and federal law and guidance.

         128.    Brown acted with deliberate indifference to acts of sexual misconduct by failing to

  take immediate, effective remedial steps to resolve Plaintiff’s allegations of sex/gender-based

  discrimination.

         129.    Brown’s repeated failure to promptly and appropriately respond to the sexual

  misconduct Plaintiff experienced resulted in her exclusion, on the basis of her sex, from




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  participation in, being denied the benefits of, and being subjected to discrimination in Brown’s

  educational programs and activities in violation of Title IX.

          130.    Brown acted intentionally and with deliberate indifference to the repeated denial of

  Plaintiff’s access to educational opportunities or benefits. Brown’s violation of its duty to the

  Plaintiff arises from its systemic failure to properly enforce Title IX. Contrary to its own policies,

  Brown cultivated a culture of silence by failing to report complaints of sex/gender-based

  discrimination, initiate and/or conduct adequate and timely investigations and grievance

  procedures under Title IX, and ensure victimized students had equal access to educational

  opportunities and benefits or grievance procedures.

          131.    The Title IX failures by Brown were so severe, pervasive, and objectively offensive

  that Plaintiff was denied equal access to Brown’s educational opportunities and benefits, including

  that Jane lost her academic focus, stopped attending classes, saw her grades slip, and was both

  unable to participate in activities she had previously regularly completed at Brown and missed

  opportunities to participate in other new opportunities and benefits at Brown.

                              COUNT II – VIOLATION OF TITLE IX
                                     Hostile Environment
                                   20 U.S.C. §§ 1681, et seq.
                                   Against Brown University

          132.    Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          133.    Plaintiff alleges violations of Title IX against Brown due to the hostile environment

  created on Brown’s campus. Brown receives federal funds and is thus covered by Title IX’s

  prohibition on sex/gender-based discrimination.

          134.    As a female student seeking equal access to educational opportunities and benefits

  at Brown, Plaintiff was a member of a protected class covered by Title IX.



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         135.     The abuse described in this Complaint, perpetuated by Brown employees and

  students, created an abusive and sexually hostile educational environment on Brown’s campus that

  impeded and effectively denied Plaintiff’s equal access to educational opportunities and benefits.

         136.     Plaintiff’s sexual assault and the ongoing retaliation she received from Brown

  employees and Brown students, including Assailant and his friends and agents, after filing her First

  Formal Complaint and Brown’s subsequent Title IX failures, were so severe, pervasive, and

  objectively offensive that Plaintiff was denied equal access to Brown’s educational opportunities

  and benefits.

         137.     Brown is liable for its abusive and hostile educational environment because it had

  actual knowledge of Assailant’s acts of sex/gender-based discrimination against Plaintiff, but

  allowed him to continue to have unfettered access to campus and permitted Brown employees and

  Brown students, including Assailant and his friends and agents, to continue harassing and

  retaliating against Jane after she filed her First Formal Complaint.

         138.     Brown is also liable for its failure to remedy the hostile educational environment

  experienced by Plaintiff by failing to offer Plaintiff appropriate interim support measures and

  accommodations that could have provided Plaintiff with equal access to educational opportunities

  and benefits and by failing to discipline and prevent Brown employees and Brown students,

  including Assailant’s friends and agents, from continuing to harass Jane.

         139.     Brown is also liable for its failure to remedy the hostile educational environment

  by failing to initiate and conduct proper investigations into the Title IX violations that Plaintiff

  suffered, appropriately sanction Assailant, and provide appropriate follow-up support and

  accommodations to Plaintiff, thus ensuring that she received equal access to educational

  opportunities and benefits.




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          140.    Brown failed to conduct fair, equitable, unbiased, and thorough investigations into

  Plaintiff’s First and Second Formal Complaints; failed to hold Brown students and employees

  accountable for their acts of sexual misconduct, discrimination, and retaliation; and failed to

  remedy any hostile environment that was created as a result of the sex/gender-based

  discrimination.

          141.    This hostile environment perpetuated by Brown was so severe, pervasive, and

  objectively offensive that Plaintiff was denied equal access to Brown’s educational opportunities

  and benefits, including that Jane lost her academic focus, was forced to take a reduced class load

  and missed classes, and could not participate in extracurricular activities she had previously

  completed, and was unable to participate in and thereby missed out on other new educational

  opportunities and benefits.

          142.    As a direct, natural, and proximate result of Brown’s violation of Title IX by

  creating and perpetuating a sexually hostile environment, Plaintiff has suffered actual damages

  including, but not limited to, medical expenses associated with mental and physical health

  treatment, inconvenience, insult, mental distress, humiliation, physical assault, anxiety, emotional

  and physical pain and suffering, a denial of access to educational benefit, loss of educational

  benefits, loss of income, and other economic and non-economic damages.

          COUNT III – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              Against Brown University

          143.    Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          144.    Plaintiff alleges intentional infliction of emotional distress by Brown in its response

  to Plaintiff’s reports of sexual misconduct.




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          145.    Brown engaged in extreme and outrageous conduct by failing to timely and

  appropriately investigate and render decision on Plaintiff’s First Formal Complaint, dismissing

  Plaintiff’s Second Formal Complaint, failing to properly discipline Assailant, and failing to

  adequately and properly discipline and take responsive action to the extensive retaliation Jane

  faced and continues to face by Brown students and employees, including providing appropriate

  accommodations requested by Jane, which conduct knowingly and intentionally caused Jane to

  suffer severe emotional distress.

          146.    As a result of Brown’s extreme and outrageous conduct, Plaintiff has suffered

  severe emotional distress, including, but not limited to depression, anxiety, post-traumatic stress

  disorder, and other such injuries and physical manifestations as may appear during the course of

  discovery and trial in this matter. Brown is aware of such emotional distress suffered by Plaintiff.

          147.    As a direct, natural, and proximate result of Brown’s intentional infliction of

  emotional distress, Plaintiff has suffered actual damages including, but not limited to, medical

  expenses associated with mental and physical health treatment, inconvenience, insult, mental

  distress, humiliation, physical assault, anxiety, emotional and physical pain and suffering, a denial

  of access to educational benefit, loss of educational benefits, loss of income, and other economic

  and non-economic damages.

                                   COUNT IV – NEGLIGENCE
                                Against Defendant Brown University

          148.    Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          149.    Plaintiff alleges negligence by Brown in its response to Plaintiff’s reports of sexual

  misconduct and retaliation.




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          150.    At all relevant times, Brown owed Plaintiff a duty of reasonable care to ensure her

  safety and freedom from sex/gender-based assault, harassment, and abuse by, among other things,

  conducting an adequate and timely investigation into her claims of sex/gender-based assault,

  sexual misconduct, and abuse, and enforcing the Title IX Policy.

          151.    At all relevant times, Brown also owed Plaintiff a duty of reasonable care to ensure

  she was not retaliated against for engaging in the protective activity of filing her Title IX

  Complaints.

          152.    Brown was aware that Plaintiff had been subject to sexual misconduct and took no

  reasonable protective measures to protect Plaintiff nor took timely action to prevent its recurrence

  or remedy its effects.

          153.    Brown’s failure to follow its own policies in reviewing, investigating, and resolving

  complaints of sexual assault and harassment in an adequate and timely manner allowed Assailant

  to remain on campus long after Brown had assessed him as a threat to its students and long after it

  had found him responsible for sexually assaulting Plaintiff, which constitutes a breach of its duty

  of care to Plaintiff.

          154.    Brown has also failed to address the extensive retaliation that Plaintiff has suffered

  and continues to suffer from Brown students and employees in response to Plaintiff’s Title IX

  Complaints, which constitutes a further breach of Brown’s duty of care to Plaintiff.

          155.    As a direct and proximate result of Brown’s negligence, Plaintiff has sustained

  injuries and damages, including, but not limited to, medical expenses associated with mental and

  physical health treatment, inconvenience, insult, mental distress, humiliation, physical assault,

  anxiety, emotional and physical pain and suffering, a denial of access to educational benefit, loss




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  of educational benefits, loss of income and other economic or non-economic damages, for which

  she is entitled to just compensation.

          156.    Plaintiff is entitled to monetary compensation for past damages and injunctive

  relief from Brown, as damages alone are not an adequate remedy for the Brown’s ongoing

  negligence. Brown is also vicariously liable for the damages caused by its employees.

                             COUNT V – NEGLIGENT SUPERVISION
                               Against Defendant Brown University

          157.    Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          158.    Plaintiff alleges negligent supervision by Brown in its response to reports of sexual

  misconduct. Brown had a duty to properly supervise, train, and monitor its employees and students

  and to ensure those employees’ and students’ compliance with all applicable statutes, laws,

  regulations, and institutional policies, but they failed to do so and therefore breached the duties of

  care owed to Plaintiff as alleged herein.

          159.    Brown’s failure to timely report and investigate the physical violence, sexual

  misconduct, and retaliation perpetrated against Plaintiff, or to monitor the Title IX investigation

  and response process at Brown, is a breach of its duty to supervise.

          160.    As a direct and proximate cause of Brown’s conduct, actions, and/or inactions

  Plaintiff has sustained injuries and damages, including, but not limited to, medical expenses

  associated with mental and physical health treatment, inconvenience, insult, mental distress,

  embarrassment, humiliation, physical assault, anxiety, emotional pain and suffering, a denial of

  access to educational benefit, loss of educational benefit, loss of income and other economic and

  non-economic damages, and other such injuries and physical manifestations as may appear during

  the course of discovery and trial in this matter, for which she is entitled to just compensation.



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            COUNT VI – VIOLATION OF RHODE ISLAND CIVIL RIGHTS ACT
                           R.I. Gen. Laws. § 42-112-1, et seq.
                          Against Defendant Brown University

          161.    Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          162.    Plaintiff alleges violation of the Rhode Island Civil Rights Act, § 42-112-1, et seq.

          163.    Brown, by and through its agents, servants, employees and/or those for whose

  conduct it was responsible, interfered with the personal, contractual, and property rights of the

  Plaintiff and with her right to the full and equal benefit of all laws and proceedings for the security

  of persons.

          164.    Brown’s deliberate failure to enforce compliance with the requirements set forth

  under the RICRA violated the rights of Plaintiff to equal protection of the law, created a hostile

  education environment, and substantially interfered with Plaintiff’s access to educational

  opportunities or benefits.

          165.    Brown’s discriminatory actions or inactions were motivated by Plaintiff’s

  sex/gender and amounted to reckless or callous indifference to Plaintiff’s protected rights.

          166.    As a direct, natural, and proximate result of Brown’s violation of the RICRA,

  Plaintiff has suffered actual damages including, but not limited to, medical expenses associated

  with mental and physical health treatment, inconvenience, insult, mental distress, humiliation,

  physical assault, anxiety, emotional and physical pain and suffering, a denial of access to

  educational benefit, loss of educational benefit, loss of income, loss of enjoyment of life, and other

  economic or non-economic damages, for which she is entitled to just compensation.




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                                       COUNT VII – BATTERY
                                       Against Defendant Stiles

          167.     Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          168.     Without Jane’s consent, Assailant sexually assaulted Jane by penetrating Jane

  orally, then vaginally, with his penis. Jane asked Assailant to stop, but he failed to do so at any

  point in time.

          169.     Assailant’s sexual assault was intended to cause, and in fact did cause, an offensive

  contact with Jane’s body, which she did not consent to and which caused her immense bodily

  trauma and injury, which constitutes the tort of battery under Rhode Island state law.

          170.     As a direct, natural, and proximate result of Assailant’s battery, Plaintiff has

  suffered actual damages including, but not limited to, medical expenses associated with mental

  and physical health treatment, inconvenience, insult, mental distress, fright, humiliation, physical

  assault, anxiety, emotional and physical pain and suffering, a denial of access to educational

  benefit, loss of educational benefit, loss of income, loss of enjoyment of life, and other economic

  or non-economic damages, for which she is entitled to just compensation.

                                       COUNT VIII – ASSAULT
                                        Against Defendant Stiles

          171.     Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          172.     Without Jane’s consent, Assailant sexually assaulted Jane by penetrating Jane

  orally, then vaginally, with his penis.




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          173.    Assailant forced Jane’s head and mouth down to his penis and held Jane’s head

  there, forcing Jane to perform oral sex on Assailant without her consent. Said act was of a

  threatening nature and placed Jane in reasonable fear of imminent bodily harm.

          174.    Assailant then raped Jane vaginally, causing her significant pain and serious

  physical injuries. Said act was of a threatening nature and placed Jane in reasonable fear of

  imminent bodily harm.

          175.    After discovering her injuries, Assailant then aggressively berated Jane for the

  blood covering his sheets and floor. Assailant’s threatening, intimidating, and aggressive tone and

  demeanor and his physical proximity to Jane, which behavior immediately followed his sexual

  assault of Jane, placed Jane in reasonable fear of imminent bodily harm.

          176.    As a direct, natural, and proximate result of Assailant’s assault, Plaintiff has

  suffered actual damages including, but not limited to, medical expenses associated with mental

  and physical health treatment, inconvenience, insult, mental distress, fright, humiliation, physical

  assault, anxiety, emotional and physical pain and suffering, a denial of access to educational

  benefit, loss of educational benefit, loss of income, loss of enjoyment of life, and other economic

  or non-economic damages, for which she is entitled to just compensation.

          COUNT IX – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                             Against Defendant Stiles

          177.    Plaintiff hereby incorporates by reference the allegations set forth in the above

  paragraphs as if fully set forth herein.

          178.    Plaintiff alleges intentional infliction of emotional distress caused by Assailant’s

  oral and vaginal rape of Jane and Assailant’s threatening, intimidating, and aggressive conduct

  following Jane’s sexual assault.




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          179.    By raping Plaintiff orally and vaginally, causing significant vaginal injury, berating

  her for the amount of blood that poured from her injuries, forcing her to walk naked and bleeding

  down a communal hallway in the senior men’s lacrosse house, and making her get on her hands

  and knees naked and bleeding to clean up her own blood, and forcing her to walk home with

  Assailant, Assailant engaged in extreme and outrageous conduct and specifically intended for his

  conduct to cause Plaintiff to suffer severe emotional distress.

          180.    Assailant further engaged in extreme and outrageous conduct that specifically

  intended to cause Plaintiff to suffer severe emotional distress as Assailant intentionally

  disseminated pictures, videos, and messages of the scene of the sexual assault, Jane’s blood

  covering Assailant’s genitalia, body, and bedroom, and text messages intended to mock,

  embarrass, and humiliate Jane. Assailant disseminated these pictures, videos, and messages to at

  least several other members of Brown’s men’s lacrosse team, which pictures, videos, and messages

  identified Jane explicitly.

          181.    As a result of Assailant’s extreme and outrageous conduct, Plaintiff has suffered

  severe emotional distress, including, but not limited to depression, anxiety, post-traumatic stress

  disorder, and other such injuries and physical manifestations as may appear during the course of

  discovery and trial in this matter. Assailant is aware of such emotional distress suffered by

  Plaintiff.

          182.    As a direct, natural, and proximate result of Assailant’s intentional infliction of

  emotional distress, Plaintiff has suffered actual damages including, but not limited to, medical

  expenses associated with mental and physical health treatment, inconvenience, insult, mental

  distress, humiliation, physical assault, anxiety, emotional and physical pain and suffering, a denial




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  of access to educational benefit, loss of educational benefits, loss of income, and other economic

  and non-economic damages.

                                         PRAYER FOR RELIEF

          For all the foregoing reasons, Plaintiff prays for judgment against Defendants as follows:

          A.      An award of damages to Plaintiff, including compensatory damages and common
                  law punitive damages;

          B.      An award of litigation costs and expenses, including reasonable attorneys’ fees to
                  the Plaintiff;

          C.      For interest based on damages, as well as pre-judgment and post-judgment interest
                  as allowed by law;

          D.      Injunctive relief; and

          E.      Any and all such additional and further relief as this Court deems just and equitable
                  under the circumstances.

                                              JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby demands a

  trial by jury in this action of all issues so triable.

                                                    Respectfully submitted,
   Dated: November 3, 2023
                                                     /s/ Irene R. Lax
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